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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 IN RE PORK ANTITRUST LITIGATION
                                                       Civil No. 18-1776 (JRT/JFD)

 _________________________________             ORDER GRANTING PRELIMINARY
                                               APPROVAL OF THE CLASS ACTION
 This Document Relates to:                     SETTLEMENT AGREEMENT BETWEEN
                                               CONSUMER INDIRECT PURCHASER
 All Consumer Indirect Purchaser Actions       PLAINTIFFS AND DEFENDANT
                                               SMITHFIELD FOODS



       Now before the Court is Consumer Indirect Purchaser Plaintiffs’ (“Consumer IPPs”)

Motion for Preliminary Approval of the Class Action Settlement with Defendant Smithfield

Foods, Inc. (“Smithfield”) and to Direct Notice to the Settlement Class.

       The Court, having reviewed the Motion, its accompanying memorandum and the

exhibits thereto, the Settlement Agreement between the Consumer IIPs and Smithfield,

and all relevant filings, HEREBY ORDERS:

       1. The Court has jurisdiction over this action and each of the parties to the

Settlement Agreement.

       2. The proposed Settlement Agreement, which was arrived at by arm’s-length

negotiations by experienced counsel with the assistance of an experienced mediator, falls

within the range of possible approval and is hereby preliminarily approved, subject to

further consideration at the Court’s Fairness Hearing.

       3. The Court finds that provisional certification of the Settlement Class is
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warranted for settlement purposes only in light of the Settlement Agreement because: (a)

the Settlement Class members are so numerous that joinder is impracticable; (b) the

Consumer IPPs’ claims present common issues and are typical of the claims of the

Settlement Class; (c) the Consumer IPP named class representatives and Settlement Class

Counsel (defined below) will fairly and adequately represent the Settlement Class; and (d)

common issues predominate over any individual issues affecting the members of the

Settlement Class. The Court further finds that the named representative Consumer IPPs’

interests are aligned with the interests of all other members of the Settlement Class. The

Court also finds settlement of this action on a class basis is superior to other means of

resolving the matter.

       4. The Court finds that the Settlement Agreement is preliminarily determined to

be fair, reasonable, adequate, and in the best interests of the Settlement Class, raises no

obvious reasons to doubt its fairness, and raises a reasonable basis for presuming that

the Settlement Agreement and its terms satisfy the requirements of Federal Rules of Civil

Procedure 23(a), 23(b)(3), 23(c)(2) and 23(e) and due process so that notice of the

Settlement should be given to the Settlement Class.

       5. The Court certifies a Settlement Class defined as:

              [A]ll persons and entities who indirectly purchased pork from
              any of the Defendants or any co-conspirator, or their
              respective subsidiaries or affiliates, for personal use in the
              United States from at least as early as January 1, 2009 until
              April 1, 2021. Specifically excluded from the Settlement Class
              are the Defendants; the officers, directors or employees of

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             any Defendant; any entity in which any Defendant has a
             controlling interest; and any affiliate, legal representative,
             heir or assign of any Defendant. Also excluded from this
             Settlement Class are any federal, state, or local governmental
             entities, any judicial officer presiding over this action and
             members of his/her immediate family and judicial staff, and
             any juror assigned to this action.

      6. The Court appoints the law firms of Hagens Berman Sobol Shapiro LLP and

Gustafson Gluek PLLC as Co-Lead Counsel for the Settlement Class.

      7. Each Consumer IPP class representative named in the live complaint in the

above case will serve as a class representative on behalf of the Settlement Class.

       8. The Court hereby directs notice to be distributed to the Settlement Class

members pursuant to Federal Rule of Civil Procedure (“Rule”) 23(c)(2).

      9. The proposed notice plan set forth in the Memorandum and the supporting

declarations comply with Rule 23(c)(2)(B) and due process as it constitutes the best notice

that is practicable under the circumstances, including individual notice via mail and email

to all members who can be identified through reasonable effort. The direct mail and email

notice will be supported by reasonable publication notice to reach potential members of

the Settlement Class who could not be individually identified.

       10. The Court appoints A.B. Data as the settlement notice administrator and the

administrator of the settlement funds. The notice documents attached to the Declaration

of Eric Schachter, submitted in support of the motion for preliminary approval, and their

manner of transmission, comply with Rule 23(c)(2)(B) and due process because the

notices and forms are reasonably calculated to adequately apprise Settlement Class of (i)
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the nature of the action; (ii) the definition of the class certified; (iii) the class claims, issues,

or defenses; (iv) that a Settlement Class member may enter an appearance through an

attorney if the member so desires; (v) that the court will exclude from the Settlement

Class any member who requests exclusion; (vi) the time and manner for requesting

exclusion; and (vii) the binding effect of a class judgment on members of the class under

Rule 23(c)(3). Non-substantive changes, such as typographical errors, can be made to the

notice documents by agreement of the parties without leave of the Court.

       11. After Class Notice has been disseminated, the Court shall hold a hearing on the

proposed Settlements to determine whether they are fair, reasonable, and adequate, and

whether they should be finally approved by the Court (the “Final Approval Hearing”).

       12. After Notice has been disseminated, Class Members who wish to exclude

themselves from the proposed Settlement will be required to submit an appropriate and

timely request for exclusion, and Class Members who wish to object to the proposed

Settlement must submit an appropriate and timely written statement of the grounds for

objection. Class Members who wish to appear in person to object to any of these

Agreements may do so at the Final Approval Hearing pursuant to directions by the Court.

       13. The proposed notice plan will be carried out pursuant to the schedule

described in the Memorandum.

       14. If the Settlement Agreement is not granted Final Approval following the Final




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Approval Hearing or is cancelled or terminated pursuant to Paragraph 20 of the

Settlement Agreement, then the Settlement Agreement and all proceedings had in

connection therewith shall be vacated, and shall be null and void, except insofar as

expressly provided otherwise in the Settlement Agreement, and without prejudice to the

status quo and rights of Consumer IPPs, Smithfield, and the members of the Settlement

Class. The parties shall also comply with any terms or provisions of the Settlement

Agreement applicable to the settlement not becoming final.

      15. Neither this Order nor the Settlement Agreement shall be deemed or

construed to be an admission or evidence of a violation of any statute, law, rule, or

regulation or of any liability or wrongdoing by Smithfield or of the truth of any of

Consumer IPPs’ claims or allegations, nor shall it be deemed or construed to be admission

or evidence of Smithfield’s defenses.

      16. The Court approves the establishment of the Settlement Fund described in

Paragraphs 9, 10, and 12 of the Settlement Agreement as a qualified settlement fund

(“QSF”) pursuant to Internal Revenue Code Section 468B and the Treasury Regulations

promulgated thereunder and retains continuing jurisdiction as to any issue that may arise

in connection with the formation and/or administration of the QSF. Settlement Class

Counsel are, in accordance with the Settlement Agreement and subject to any necessary

Court approval, authorized to expend funds from the QSF for the payment of the costs of

notice, payment of taxes, and settlement administration costs.


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      17. The Action with respect to the Consumer Indirect Purchaser Plaintiffs’ Claims is

stayed as to the Released Parties (as that term is defined in the Settlement Agreements)

except as necessary to effectuate the Settlements.




DATED: November 9, 2022                              ___                    ___
at Minneapolis, Minnesota.                               JOHN R. TUNHEIM
                                                     United States District Judge




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